                       IN THE UNITED STATES DISTRICT COURT
                          WESTERN DISTRICT OF ARKANSAS
                              FAYETTEVILLE DIVISION


FAYETTEVILLE PUBLIC LIBRARY, et al.                                          PLAINTIFFS


       v.                                         No. 5:23-cv-5086


CRAWFORD COUNTY, ARKANSAS, et al.                                            DEFENDANTS


                          DECLARATION OF PATTY HECTOR

      I, Patty Hector, hereby declare under penalty of perjury as prescribed in 28 U.S.C. § 1746:

       1.     The facts contained in this declaration are based on my personal knowledge and I

can testify competently to them if called upon to do so. I submit this sworn declaration in support

of Plaintiffs’ Motion for Summary Judgment.

       2.     I hold a Master of Library Science degree from the University of North Texas and

a bachelor’s degree from Austin College. I have been a librarian for approximately forty years

and have worked as a librarian in both private and public settings.

       3.     I have worked at two different public libraries in Arkansas. In 1988, I began

working as the Public Services Librarian of the Fort Smith Public Library (FSPL). I spent 15

years at FSPL and left as the Assistant Director. I then relocated to California, where I continued

my work as a librarian at several public libraries in northern California. After returning to

Arkansas, I was hired as the Library Director of the Saline County Library in 2016. I held that

position until October 2023, when Saline County Judge Matt Brumley fired me because I refused

to remove books discussing LGBTQ or sexual education issues from the library. After being fired

from Saline County Library, I worked for approximately six months as a librarian at the Coronado
Center Library in Hot Springs Village. I am currently freelancing as a librarian while I run for a

position on the Saline County Quorum Court.

       4.     Being fired from a job I loved and did well for many years was traumatic. My

termination was the culmination of a months-long escalation between the Quorum Court and a

group called the Saline County Republican Women (SCRW), on the one hand, and the Saline

County Library and me, on the other hand. I am providing a summary of the events leading up to

my termination because I believe my experience provides context relevant to the Court’s

consideration of Act 372 and, in particular, its consideration of Section 5 of Act 372, which places

final authority for reviewing book challenges in the hands of the elected members of city and

county governing bodies.

       5.     In early 2023, Saline County Library began to receive visits from members of

SCRW, who were visiting only to confirm that the library had books in its collection that appeared

on a list they had of purportedly harmful books. They were specifically looking for books that

discussed race, gender, and sexual orientation. These SCRW members did not have library cards

and made no effort to engage the Saline County Library’s staff about the books they objected to,

including through Saline County Library’s preexisting reconsideration request process. Instead,

they took their complaints directly to the Quorum Court.

       6.     The SCRW members objected to the library having children’s books like “Leo’s

Lavender Skirt” by Irma Borges, which depicts a young boy who likes wearing costumes,

including a lavender colored skirt; “Worm Loves Worm” by J.J. Austrian, which tells the story

of two worms planning their wedding; and “The Talk” by Darrin Bell, a Pulitzer Prize winning

graphic memoir that discusses the author’s experience with racism.




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       7.     These books are perfectly reasonable and worthy selections for the children’s

section of a public library, and those who sought to have them removed clearly did so because

they disagreed with the messages in those books. It is fundamental to the idea of the public library

that a wide range of viewpoints are represented in the collection and that materials are not given

special treatment based on the viewpoint expressed in the work.

       8.     After the SCRW members complained about books in the Saline County Library to

the Quorum Court, the library received three book reconsideration requests, including one from

Mr. Brumley. These reconsideration requests, which were denied, were the first ones the library

had received in at least ten years.

       9.      Judge Brumley and members of the Quorum Court also spoke to three Saline

County Library Board members around this time. I understand that the Library Board members

told Judge Brumley and the Quorum Court members that they would not agree to fire me at the

Quorum Court’s request.

       10.    With the understanding that the library and Library Board would make it difficult

for the Quorum Court to influence library operations, the Quorum Court sought to establish its

influence over the library more directly. Its first move came at the April 2023 Quorum Court

meeting, where members of the Quorum Court moved to adopt a “Resolution Requesting Saline

County Library Ensure Children’s Section Materials Are Subject Matter And Age Appropriate”

(the “Library Resolution”). In view of the fact that Act 372 had been passed and was expected to

“have an impact on the Library,” the Library Resolution proposed that the library “proactively

take steps to ensure that materials that are not subject matter or age appropriate, such as those that

contain sexual content or imagery, are not located in areas where children’s materials are

located[.]” A true and accurate copy of the Library Resolution is attached as Exhibit A.



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       11.       The Justice of the Peace who sponsored the Library Resolution claimed that it was

necessary to make libraries safe for children to use. The community members who spoke in favor

of the resolution parroted that child safety rationale, as well, and some also called for the library

to be defunded, if I did not remove the books they found offensive. Others claimed that the Library

Resolution was necessary because the library contained books they perceived to be anti-Christian

or anti-white.

       12.       The justification for the Library Resolution and the comments offered in support of

it were all in keeping with how the broader debate about which books should be in Arkansas’

libraries has been framed, both by SCRW and more broadly. A throughline of this public debate

has been that librarians who object to relocating or removing library materials simply because

they express unpopular ideas are personally attacked, accused of endangering children, called

“groomers” and “pedophiles,” and more. I was subjected to all of that. I know that other librarians

in Arkansas have faced the same accusations and insults, which are deeply unfair, extremely

hurtful, and—it should hardly need saying—patently false.

       13.       At the end of the day, the Quorum Court approved the Library Resolution. A true

and accurate copy of the minutes of the April 2023 Quorum Court meeting is attached as Exhibit

B.

       14.       The Quorum Court did not solicit my or my staff’s views before proposing the

Library Resolution. Only two members of the Quorum Court came to the library before proposing

the Library Resolution, and they refused to let me speak to them about the Library Resolution or

to answer any questions. If they had been willing to hear what I had to say, I would have explained

to them that libraries already take into account the age and subject matter of books as part of our

standard curation practices. Anyone familiar with libraries generally, or the Saline County Library



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in particular, would see this reflected in the fact that libraries often have a Children’s section,

Young Adult section, Adult Fiction section, and so forth. Saline County Library also requires that

children under the age of twelve have an adult chaperone when they are in the library.

       15.    Collectively, these policies and practices ensure that library users have the

information they need to browse the library and find their way to the sections that are likely to

contain materials that will be interesting to them and suitable for their maturity and reading level.

For young children, we expect that parents or guardians will use the information and guidance

the library makes available to play an active role in helping young children find good reading

selections. This is a system that has served public library patrons, including in Saline County,

very well for a very long time. It has ensured that anyone who walks through the library doors

can find something that they want to read, even if it also means that they might find a book

containing ideas with which they disagree.

       16.    After the Quorum Court passed the library resolution at the April 2023 meeting,

Judge Brumley attended the May 2023 Saline County Library Board meeting to express his lack

of confidence in the Board and my leadership of the library. He said that he was concerned for

the future of the library, based on its decision not to remove the books from the SCL collection

that he and others claimed were harmful to children. Mr. Brumley referenced Saline County

Ordinance 78-1 (1978), which authorizes the library’s existence, and made clear that, because I

would not accede to his demands about book removal, he would be seeking to exert more control

over the library’s operations moving forward. A true and accurate copy of the minutes of the May

2023 Saline County Library Board meeting are attached as Exhibit C.

       17.    At the next Quorum Court meeting, held on June 19, 2023, the Quorum Court

introduced an ordinance that would amend Ordinance 78-1 by vesting oversight of all library



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    operations in the County Judge and stripping the Library Board of authority to make employment

    decisions for the library (the “Library Ordinance”). A true and accurate copy of the minutes for

    the Saline County Quorum Court’s June 19, 2023 meeting are attached as Exhibit D. The Quorum

    Court passed the Library Ordinance at the August 21, 2023 meeting. A true and accurate copy of

    the minutes for the August 21, 2023 meeting are attached as Exhibit E.

           18.    Many predicted that passage of the Library Ordinance meant that I would be fired.

    Sure enough, on October 9, 2023, Mr. Brumley fired me. He did not offer an explanation for his

    decision to fire me from a job I had done well for many years but, the events of the preceding few

    months make it perfectly clear that I was fired because I refused to accede to public pressure and

    allow the views of vocal opponents of certain ideas and books guide the library’s decisions about

    which materials should be made available and where in the library they should be located. Those

    are decisions to be made by professional librarians, who are committed to principles of

    librarianship, not by elected officials or advocacy organizations, who are committed to advancing

    the interests of their powerful constituents or their own agenda. 1



1
   The whole saga was thoroughly documented in the press. See, e.g., Debra Hale-Shelton,
UPDATE: Saline County Judge Fires Librarian After Months of Controversey Over Censorship,
Ark. Times (Oct. 9, 2023), https://arktimes.com/arkansas-blog/2023/10/09/saline-county-judge-
fires-librarian-after-months-of-controversy-over-censorship; Mary Hennigan, Pointing Fingers
and Drawing Lines: Saline County’s Library Fight Draws a Crowd, Ark. Times (Aug. 22, 2023),
https://arktimes.com/arkansas-blog/2023/08/22/pointing-fingers-and-drawing-lines-saline-
countys-library-fight-draws-a-crowd; Mary Hennigan, Amid Months-long Fight Over Censorship,
Saline County Judge Wins the Power to Fire Librarians, Ark. Times (Aug. 21, 2023),
https://arktimes.com/arkansas-blog/2023/08/21/saline-county-quorum-court-approves-library-
limitations-assigns-more-power-to-themselves; Tess Vrbin, Saline County Judge: Library
Director’s Statements Cause “High Degree of Concern”, Ark. Advocate (May 22, 2023),
https://arkansasadvocate.com/2023/05/22/saline-county-judge-citizens-bring-concerns-about-
obscene-content-to-library-
board/#:~:text=The%20library%20board's%20meeting%20was,is%20not%20accessible%20to%
20children.%E2%80%9D; Mary Hennigan, Library Under Attack: Saline County Quorum Court
Approves Strict Policies, Residents Threaten Defunding, Ark. Times (Apr. 18, 2023),
https://arktimes.com/arkansas-blog/2023/04/18/library-under-attack-saline-county-quorum-
                                                     6
       19.    Of course, all of this happened in the context of Act 372, which has supercharged

the debate about books and libraries in Arkansas in an unproductive way and greatly increased

the hostility that has been aimed at librarians. As noted above, the Library Resolution was

justified, in part, as a proactive step that Saline County should take to pre-emptively implement

what the Quorum Court thought Act 372 would soon require.

       20.    Even without its corrosive effect on discussions about libraries in Arkansas, Act

372 was deeply concerning to me as a library director for a number of reasons. First and foremost,

Saline County Library carried books and other materials in its general collection that discussed

sex and other mature topics that, although constitutionally protected and suitable reading choices

for adults and mature minors, might have been considered by some to be harmful to a younger,

less mature minor. Those books were not placed in an area of the library meant to attract the

interest of younger, less mature minors, but they were also not physically segregated to a secure

area that could be accessed only by adult patrons, as Act 372 seems to require. Given that, I was

deeply concerned that me or my staff could be prosecuted for violating Section 1 of Act 372 if

the law went into effect.

       21.    I also expected that these books, and certainly the books that prompted the Library

Resolution, would be repeatedly challenged under Section 5 of Act 372 as inappropriate.

Although Act 372 was not yet in effect, some who spoke in support of the Library Resolution at

the April 2023 Quorum Court meeting stated that they planned to start challenging books they




court-approves-strict-policies-residents-threaten-defunding; Marry Hennigan, Republicans in
Saline County Join the Book Banning Club. Take a Look at What They’re Mad About, Ark. Times
(Apr. 14, 2023), https://arktimes.com/arkansas-blog/2023/04/14/republicans-in-saline-county-
join-the-book-banning-club-take-a-look-at-what-theyre-mad-about.
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did not want in the library. I understood that they meant they would start doing so once Act 372

went into effect.

       22.    The events that led to my firing, and the pressure exerted by the Quorum Court on

behalf of their constituents, shows exactly why it is a problem that Section 5 of Act 372 requires

a book challenge procedure that places final decision-making authority in the hands of a local

governing body, like the Quorum Court. If Act 372 goes into effect, I fully expect that the

members of the Saline County Quorum Court will, in keeping with their past conduct, use the

role they have been given under Act 372 to censor books that express ideas they or their

constituents do not like. It will also be hard for the Saline County Library staff not to succumb to

that pressure, which may cause them to preemptively relocate or remove books that they know

will cause them trouble. I imagine that they may also stop acquiring books that will be the subject

of challenges and, ultimately, be deemed “inappropriate” by the Quorum Court. That will limit

the reading choices for Saline County but what would be the point of purchasing books that will

be immediately challenged, declared inappropriate or worse, and segregated into a locked room?

The Quorum Court has made it perfectly clear that those who do not participate in their censorship

agenda will be fired.

       23.    Practically speaking, Act 372 will also be unworkable for the Saline County

Library, as it will be for most libraries in Arkansas. Although materials in the Saline County

Library are organized into sections that roughly correlate with age, as described above, the

materials in its three branches are organized on open shelves, which allows patrons to browse for

materials of interest to them, without requiring assistance from a library staff member. Saline

County Library’s patrons, who range in age from the very young to the very old, are not restricted

from accessing any portion of the library collection, currently.



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       24.    Saline County Library branches also do not have separate rooms that can be used

to securely store books deemed “harmful” to minors or inappropriate in an area that is inaccessible

to all minors. If they do, those rooms are currently being used to offer valuable services, like

community meeting space. Nor do I think that the Saline County Library has the resources to alter

the interior layout of its buildings in order to add walls or doors in order to create new adults-only

spaces. Even if Saline County Library had available space, or could build new segregation spaces,

doing so would defeat the basic purpose of a library: to create a welcoming and inviting

environment, where readers can freely peruse the curated offerings in the collection.

       25.    Placing materials in an adult-only room would also stigmatize those materials and

likely prevent adult patrons from browsing them and discovering materials they might have

otherwise enjoyed. And it would directly deny access to older, more mature minors on account

of their age. In my many years as a librarian, I have encountered plenty of thoughtful teenagers

who are capable of reading and appreciating a book that deals with a mature topic—even if the

book describes a romantic relationship involving sex—and taking away important lessons

conveyed by the work. It would be a shame to limit the reading choices for those young people

to materials that would be suitable for the library’s youngest users.

       26.    It is also worth recognizing how common it is for a parent, grandparent, or guardian

to visit the library with a young child and hope to find something of interest for both the child and

the adult. In Saline County Library, however, children under the age of twelve cannot be left

unattended. If the library has to create an adult-only room under Act 372, a parent who comes to

the library with their 10-year-old child would not be able to browse the books segregated in that

adult-only area.




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EXHIBIT A
EXHIBIT B
EXHIBIT C
               Saline County Library Board Meeting Minutes
                                        May 22, 2023

Attendees:

Caroline Miller Robinson, Board Chair    Margaret Regnier, Friends of the Library Board Member
Marian Douglas, Board Member             Patty Hector, Library Director
Allison Nolley, Board Member             Leigh Espey, Library Manager
Laine Holleran, Board Member             Heather Phipps, Human Resources Manager
Kara Conrad, Board Member                Arielle Wilson, Financial Coordinator
Matt Brumley, County Judge

Excused:


 I.     Call to Order
        Miller Robinson called the meeting to order at 3:32 PM.

 II.    Announcements/Public Comment
        Public Comments were made by the following individuals:

        Bob Vidt
        Jerry Davidson
        Jordan Reynolds
        Lydia Cheatham
        Amanda Ewald
        Brad Ewald
        Dwain Tennant
        Jordan Sandlin
        Ann Garner
        Rebecca Kidder

 III.   Minutes from the 4/11/2023 board meeting
        Douglas moved to accept the minutes as presented. Holleran seconded the
        motion, which passed unanimously.

 IV.    Financial Reports
        a. Income and Expense Reports
        Douglas moved to accept the income and expense reports as presented. Holleran
        seconded the motion, which passed unanimously.

        b. Budget Modification Report
        Nolley moved to accept the Budget Modification Report as presented. Conrad
        seconded the motion, which passed unanimously.
V.     Discussion Items
       a. Friends of the Library Report
       Friends of the Library Board Member Margaret Regnier spoke about the
       incredible, dedicated, and committed volunteers that the Friends of the Library
       has. They had a volunteer appreciation day for their volunteers in April. The book
       sale room continues to have a steady income for the library, and we continue to
       receive donations, but we are in need of hardback adult fiction. The Friends
       recently purchased and donated a sun shade for the Nature Play Space and plan
       on purchasing another one soon.

       b. Director’s Report
       Patty Hector announced that the network build we closed for was successful, but
       we did come across a few problems and we are still cleaning things up.

       c. Library Management Teams Reports – Includes: Library Manager, Branch,
       Building Operations, Community Engagement, East End, Public Services, and
       Youth Services.

VI.    Unfinished Business
       a. None

VII.   New Business

       a. Judge Brumley requests to learn more regarding the Board’s perspective on
       the current state of affairs and the future of the Saline County Library
       During the discussion Judge Brumley spoke about his high degree of concern
       over library leadership, and the library’s lack of response to the quorum court
       resolution. Judge Brumley also spoke about Ordinance 78-1 from 1978 that
       states that the Library Board will need to submit quarterly finance reports to the
       County Judge. Judge Brumley requested that the library send the quarterly
       reports by Wednesday, May 31st. It was also mentioned that according to the
       Ordinance 78-1 the Library Board bylaws are out of compliance because it states
       the board can have up to 7 board members when the Ordinance states the board
       can only have 5 and that all Library Board members should have a property
       bond.

       b. Deletions
       Holleran moved to accept the deletions as presented. Conrad seconded the
       motion, which passed unanimously.

       c. Change Capitalization Threshold per Legislative Auditor
      Douglas moved to set the capitalization threshold to $500.00 as recommended
      by the legislative auditor. Holleran seconded the motion, which passed
      unanimously.

      d. Recommendation for Replacement of Server Equipment
      Nolley moved to accept the recommendation for the replacement of the server
      equipment as presented. Holleran seconded the motion, which passed
      unanimously.

      e. Recommendation for Change in Investment Strategy
      Douglas moved to accept the change in the Investment Strategy to start in
      October 2023 as presented. Nolley seconded the motion, which passed
      unanimously.

      f. Resolution Empowering the Saline County Judge to Have Concurrent Power to
      Relocate and/or Remove Books from the Youth Services Division of the Saline
      County Library
      Douglas moved to table this discussion till the next board meeting. Holleran
      seconded the motion, which passed unanimously.

      g. Lease for East End Branch
      Holleran moved that we move forward with the lease for the East End Branch.
      Nolley seconded that motion which passed unanimously.



      h. Update for Reconsideration of Materials Policy
      Nolley moved that concerning the presented reconsideration, it should say that
      the book must be read to its entirety before a recommendation is made. Conrad
      seconded that motion, which passed unanimously.

      i. Board Member Recommendations
      Douglas moved that the board would like to recommend, Janelle Stephens, Sam
      Gibson, and Caroline Robinson Miller as prospective board members to submit to
      the County Judge for approval. Holleran seconded that motion, which passed
      unanimously.


VIII. Miller Robinson adjourned the meeting at 5:32 PM.

Submitted by,

Heather Phipps
Human Resources Manager
               Saline County Library Board Meeting Minutes
                                      June 26, 2023

Attendees:

Marian Douglas, Board Chair             Patty Hector, Library Director
Allison Nolley, Board Member            Leigh Espey, Library Manager
Kara Conrad, Board Member               Heather Phipps, Human Resources Manager
Jamie Clemmer, Board Member             Arielle Wilson, Financial Coordinator
Matt Brumley, County Judge              Amanda Garrison, East End Branch Manager
Will Gruber, County Attorney

Excused:


 I.     Call to Order
        Douglas called the meeting to order at 3:30 PM.

 II.    Announcements/Public Comment
        No one signed up to make public comment.
        Douglas announced that we have a new board member Jamie Clemmer that is
        joining the board today.
        Nolley wanted to commend the staff for all the hard work they are doing despite
        the multiple threats and name calling on social media and excessive workload
        from the FOIA requests.

 III.   Discussion Items
        a. None

 IV.    Unfinished Business
        None

 V.     New Business
        a. Approval of RFQ to Retain Legal Counsel
        County Attorney, Will Gruber drew up the Request For Qualifications for the
        Library to retain legal counsel with feedback from Library Director Patty Hector.
        He explained to the board how the RFQ works; the library will need to advertise
        in the newspaper and post on the library website. The RFQ helps narrow down
        the candidates by a point system. The goal is to have these in by July 10th.

        Nolley motioned that the board approve the RFQ to retain legal counsel. Conrad
        seconded that motion, which passed unanimously.

        b. Resignation of Board Member L. Holleran and Recommendations for
      Replacement
      Conrad motioned that we schedule a special board meeting on July 6th at 3:30
      PM for the purpose of selecting a new board member and to review all
      submissions. Clemmer seconded the motion, which passed unanimously.

      c. Recommendation to Engage Accounting Firm for Audit
      Hector explained to the board that if ordinance passes, the Library will need to
      retain a third party auditor outside of the legislative audit. Gruber recommended
      that the library draw up a RFQ for an accounting firm.

      d. East End Branch Update
      East End Branch Manager, Amanda Garrison shared a picture of the walls going
      up at the new East End Branch location. She has also been meeting with Library
      Interiors of Texas to go over furnishings. Garrison spoke with Karen King from
      Hope Realty and they will be meeting sometime next week with an electrician to
      talk about outlet placement. The building is expected to be finished by August
      with an opening of September. Also, the Friends of the Library have donated
      $7,000 to help purchase things for the Library.

VI.   Douglas adjourned the meeting at 4:05 PM.


Submitted by,

Heather Phipps
Human Resources Manager
EXHIBIT D
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